                 Case 14-29107             Doc 1       Filed 08/07/14         Entered 08/07/14 22:05:00                  Desc Main
                                                          Document            Page 1 of 2
B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                                       Northern District
                                                    __________   Districtof of
                                                                            Illinois
                                                                                __________

       Griffith Sharon
In re ___________________________________,                                                Case No. ___________________
                   Debtor
                                                                                                   7
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $
                                             Y                                    1       395,000.00

 B - Personal Property                                                                $
                                             Y                                    3         60,598.00

 C - Property Claimed
     as Exempt
                                             Y                                    1

 D - Creditors Holding                                                                                      $
     Secured Claims                          Y                                    1                                480,500.00

 E - Creditors Holding Unsecured                                                                            $
                                             Y                                    1                                         0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $
     Nonpriority Claims
                                             Y                                    3                                  57,539.00


 G - Executory Contracts and
     Unexpired Leases
                                             y                                    1


 H - Codebtors                               y                                    1

 I - Current Income of                                                                                                              $
                                             y                                    2                                                         5,897.00
     Individual Debtor(s)

 J - Current Expenditures of Individual      y                                    3                                                 $       7,004.00
     Debtors(s)

                                          TOTAL                                       $                     $
                                                                                15        455,598.00               538,039.00
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                                                         Document           Page 2 of 2
B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                                       Northern
                                                  __________    District of
                                                              District   of Illinois
                                                                            ______________
       Griffith Sharon
In re ___________________________________,                                               Case No. ___________________
                   Debtor
                                                                                                  7
                                                                                         Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $          0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $          0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $          0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $          0.00

 Domestic Support, Separation Agreement, and Divorce Decree           $          0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $          0.00
 Obligations (from Schedule F)

                                                           TOTAL      $          0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $     5,897.00
 Average Expenses (from Schedule J, Line 22)                          $     7,004.00

 Current Monthly Income (from Form 22A Line 12; OR, Form              $    -1,107.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                         $    84,000.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $           0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $           0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                 $    57,539.00

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $ 141,539.00



           Reset                                                                                 Save As...                       Print
